                       U.S. Dist. Court of Oregon Case No. 6:18-cv-00550
                Declaration of Counsel for Movant In Support fo Motion to Quash
                                                                                                         Page 1 of 2




  Joseph Miller - Re: US Dist. Court Case 6:18-cv-00550 White v City of Turner- Deposition
  Subpoenas for Myers & Clausen (LR 7.1 Conferral)



  From: Dan Thenell <dan@thenelllawgroup.com>
  To: Joseph Miller <JCMiller@co.marion.or.us>
 Date: 3/22/2019 5:08 PM
  Subject: Re: US Dist. Court Case 6:1 S-cv-00550 White v City of Turner- Deposition Subpoenas for
            Myers & Clausen (LR 7.1 Confen-al)



 If you don't provide a date I will notice them when the attorneys in this case are available. Based on the
 testimony ofLT Hunter they clearly have potentially discoverable mformation.

 I will be seeking sanctions against Marion County every time it files a frivolous objection to discovery
 going forward in this case.


 Daniel E. Thenell
 Partner
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 Portland, Oregon 97223
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 68th Parkway. Suite 320, Portland. OR 97223.

 On Mar 22, 2019, at 4:55 PM, Joseph Miller <JCMiller@co.marion.or.us> wrote:




        Mr. Thenell,


        I have received your Deposition Subpoenas for the following Marion County Sheriffs Office
        personnel: Sheriff Jason Myers and Undersheriff Troy Clausen. Marion County objects to
        these subpoenas on the following grounds:


            • Relevance under FRCP 26(b)(l), as:
                    ° Marion County is not a party to this matter; and
                  ° The fact witness who made the investigative findings in the Professional
                    Standards Investigation regarding Deputy Chris White has already been deposed,
            • No identified subject matter as the basis for deposition(s) is identified in the subpoena;
              and




file:///C:/Users/jcmiUer/AppData/Local/Temp/XPgrpwise/5C9516A5GWMlM-LEGAL100... 4/5/2019


                                                                                                    Enclosure 01
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                            U.S. Dist. Court of Oregon Case No. 6:18-cv-00550
                     Declaration of Counsel for Movant In Support fo Motion to Quash
                                                                                                                             Page 2 of 2



                 • Lack ofconferral on subject matter regarding the deposition as your office currently
                    has other pending legal matters involving these MCSO personnel.

           Today, we just agreed to search terms for retrieving emails in the Subpoena Dnces Tecnm
           issued to the Marion County Sheriffs Office Custodian of Records. At this point in discovery
           in this matter, I do not think it is appropriate to schedule depositions of individual MCSO
           personnel until responsive documents to the Subpoena Duces Teciim have been provided.
           Marion County and the Marion County Sheriffs Office are not parties to this matter and
           these continued discovery requests, in such a piecemeal fashion, are unduly burdensome to
           my clients as a non-party to this matter. Please withdraw your Deposition Subpoenas or I
           will be forced to file new Motions to Quash.

           Very Respectfully,

           Joe Miller
           Assistant Legal Counsel
           Marion County Counsel
           555 Court St. NE Ste 5242
           Salem, OR 97301
           T: ('503)588-5220
           F: (503)373-4367

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           applicable law. If you are not the addressee or it appears from the context or otherwise that you have received
           this e-mail in error, please advise me immediately by reply e-mail, keep the contents confidential, and
           immediately delete the message and any attachments from your system.




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  This message has been scanned for virus content by Symantec Anti-Virus, and is believed to be clean.
  Viruses are often contained in attachments - Email with specific attachment types are automatically deleted.
  If you need to receive one of these attachments contact Marion County IT for assistance.
  ^:^;^t^;^;^;^;^;>i;^^^;^:^t^^;^^^;




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